Case 8:17-cv-01809-SDM-TGW Document 10 Filed 10/24/17 Page 1 of 1 PageID 49



                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 THOMAS A. RODGERS,                                 CASE NO.: 8:17-cv-01809-SDM-TGW
     Plaintiff,

 vs.

 CITIBANK, N.A.,
       Defendant.
 __________________________________/

                                 NOTICE OF SETTLEMENT

       COMES NOW, Plaintiff, THOMAS A, RODGERS (“Plaintiff”), by and through

undersigned counsel, and hereby files this Notice of Settlement, and states that Plaintiff and

Defendant, CITIBANK, N.A., have come to an amicable settlement agreement.

Date: October 24, 2017


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 24th day of October, 2017, I electronically filed the
foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
document is being served this day on all counsel of record or pro se parties either via transmission
of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for
those counsel or parties who are not authorized to receive electronically Notices of Electronic
Filing.

                                             /s/ Christopher W. Boss
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